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Affidavit of Dervis Halici

My name is Dervis Halici and hereby affirm under penalty of perjury the following:

1. I reside at 2201 Hall Johnson Road, Colleyville, Texas 76034 and my phone number is
703-517-9949,

2. lam over 18 years of age and am under no legal disability to make this Affidavit.

3. Lama longtime friend of Gokhan Gun.

4. 1am not legally prohibited from possessing firearms.

5. I have taken possession of the following firearms from the residence owned by Mr. Gun
located at 3809 Granby Lane, Flower Mound, Texas 75028:

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6. To the best of my knowledge, the above list comprises all of the firearms owned by Mr.
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] declare under penalty of perjury that the foregoing is true and accurate.

Signed on this Aw™ day of August, 2024.

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Name — Alfiant Name — Witness

Sworn before me this — Qhy™ day of August, 2024.

JEANAIRALIZ GUZMAN A MONTALVO
Notary Public
STATE OF TEXAS
My Comm. Exp. 01-04-26
Notary ID # 13351540-9

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